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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                    AUGUSTA DIVISION



IN RE:                                          Case No.   CR116-045, USA v. Grant, at al
                                                           CR117-047, USAv. Blrt
LEAVE OF ABSENCE                                           CR117-072, USAv. Moment
PATRICIA G. RHODES                                         CR117-078, USAv. Devoe
July 2, 2018 through July 6, 2018                          CR118-007, USAv. Frank
                                                           CR118-008, USAv.Pate
                                                           CR118-014, USAv. Cartledge
                                                           CR118-016, USAv. Kelly
                                                           CR118-019, USAv.Turner
                                                           CR118-021, USAv. Dominguez,et al




                     ORDER ON MOTION FOR LEAVE OF ABSENCE


         Patricia G.Rhodes having made application to the Court for a leave of absence, and it
being evident from the application that the provisions of Local Rule 83.9 have been complied
with, and no objections having been received;

         IT IS HEREBY ORDERED THAT Patricia G. Rhodes be granted leave of absence for

the following periods: July 2,2018 through July 6,2018.
         This ^^^^y of May,2018.


                                                                       FUDGE
                                            UNITEjy STATES DISTRICT COURT
                                                    [ERN DISTRICT OF GEORGIA
